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                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10   NORTHWEST ADMINISTRATORS, INC.,
                                                        No. C20-1561-RSM
11
                            Plaintiff,
                                                        ORDER GRANTING PLAINTIFF’S
12                                                      MOTION FOR DEFAULT
                    v.                                  JUDGMENT AND DIRECTING
13                                                      FILING OF BILL OF COSTS
     PYRAMID SAN FRANCISCO
14   MANAGEMENT L.P., a Delaware limited
15   partnership,

16                          Defendant.

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                                         Summary of Judgment
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19   Judgment Creditor:                         Northwest Administrators, Inc.
     Judgment Debtor:                           Pyramid San Francisco Management L.P.
20   Principal Judgment Amount:                 $13,073.31
     Liquidated Damages                         $2,614.66
21   Interest to Date of Judgment:                $301.68
     Attorneys’ Fees                              $918.60
22   Other Recovery Amounts:                      NONE
23   Percent Interest on Principal:             3.25% per annum
     Interest Rate on Costs:                    NONE
24   Attorneys for Judgment
     Creditor:                                  Reid, McCarthy, Ballew & Leahy, L.L.P.
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27
     ORDER GRANTING PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT AND
     DIRECTING FILING OF BILL OF COSTS - 1
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            This matter comes before the Court on Plaintiff’s motion for default judgment. Dkt. #9.
 1

 2   The motion is GRANTED. Plaintiff is awarded judgment against Defendant, Pyramid San

 3   Francisco Management L.P., in the amounts hereinafter listed, which amounts are due the
 4   Plaintiff’s Trust by Defendant for its inclusive employment of members of the bargaining unit
 5
     represented by Local 856 with which the Defendant has a valid collective bargaining agreement,
 6
     and which amounts are due by reason of its specific acceptance of the Declarations of Trust: for
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     withdrawal liability of $13,073.31, for liquidated damages of $2,614.66, for pre-judgment
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 9   interest of $301.68, and for attorneys’ fees of $918.60, for a total of $16,908.25.

10          Plaintiff also requests costs in the amount of $479.00. Pursuant to Fed. R. Civ. P. 54(d)

11   and LCR 54(d), Plaintiff is DIRECTED to file a bill of costs for consideration by the Clerk of
12   Court within twenty-one (21) days from the date of this Order.
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15          DATED this 29th day of March, 2021.

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                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT AND
     DIRECTING FILING OF BILL OF COSTS - 2
